Case 1:21-cv-02170-ACR Document 93-7 Filed 05/26/25 Page1of5
Case 1:21-cv-02170-ACR Document 83-6 Filed 05/09/25 Pagelof5

Exhibit

"ewe

ena

Case 1:21+cv-02170-ACR Document 93-7
Case 1:21-cv-02170-ACR Document 83-6

Filed 05/26/25
Filed 05/09/25

Page 2 of 5
Page 2 of 5

1:21-cv-02170-ACR SMITH et al v. KAUFMAN et al

Ana C. Reyes, presiding
Date filed; 08/13/2021
Date of last filing: 04/04/2025

_ History

Doe.

Dates

Description

Filed & Entered:

08/13/2021

@ Complaint

Filed & Entered:

08/14/2021

<3 Amended Complaint

Filed & Entered:

08/16/2021

Case Assigned/Reassigned

Filed & Entered:

08/16/2021

\\@ Summons Issued Electronically

Filed & Entered:

08/16/2021

<3 Summons Returned Executed

Filed & Entered:

08/16/2021

@ Summons Returned Executed.

Tos | np LBS f ibe

Filed & Entered:

08/20/2021

@ Certificate of Service —

Filed & Entered:

08/23/2021

pe Notice of Errot

Filed & Entered:

08/27/2021

@ Answer to Amended Complaint.

\Filed & Entered:

08/30/2021

@ Order

ho feo |]

Filed:
Entered:
Terminated:

09/03/2021
09/06/2021
09/07/2021

<9 Motion for Extension of Time to File Answer

Filed & Entered:

09/07/2021

@ Order on Motion for Extension of Time to Answer

Filed & Entered:

09/21/2021

3 Order on Motion to Continue

Filed & Entered:
Terminated:

09/21/2021
09/21/2021

\ Motion to Continue

Filed & Entered:

10/01/2021

«9 Case Assigned/Reassigned

li iF iled & Entered:

10/07/2021

@ Answer to Amended Complaint

Filed & Entered:

11/05/2021

<@ Set/Reset Hearings

Filed:
Entered:

11/16/2021
11/17/2021

@ Set/Reset Hearings

Filed & Entered:

11/16/2021

@ Order

ke fh |

Filed & Entered:

\Terminated:

12/02/2021
12/06/2021

@ Motion to Dismiss

Filed & Entered:

12/02/2021

@ Meet and Confer Statement

. Filed & Entered:

12/06/2021

@ Order on Motion to Dismiss

Filed & Entered:

12/09/2021

@ Scheduling Conference

Filed:
Entered:

12/09/2021
12/10/2021

@ Set/Reset Deadlines

Filed & Entered:
Terminated:

12/09/2021
01/24/2022

<3 Motion to Amend/Correct

Filed & Entered:

01/09/2022

@ Memorandum in Opposition

lle

Filed;

01/18/2022

@ Reply to opposition to Motion

‘Sinan

Case 1:21-cv-02170-ACR Document 93-7
Case 1:21-cv-02170-ACR Document 83-6

Filed 05/26/25
Filed 05/09/25

Page 3 of 5
Page 3 of 5

Entered;

01/21/2022

Filed & Entered:

01/24/2022 <8 Order on Motion to Amend/Cotrect

Ke |e

Filed:
Entered:

01/24/2022|< Answer to Amended Complaint
01/27/2022

Filed & Entered:

02/17/2022 |\8 Scheduling Conference

Filed & Entered:

02/18/2022 14% Set/Reset Deadlines

Filed & Entered:

02/18/2022) Order

TT

Filed & Entered:

"03/18/2022|s9 Set/Reset Deadlines

Filed & Entered:

03/18/2022 | Order

{FE

Filed & Entered:
Terminated:

05/09/2022|@ Motion to Amend/Correct
05/10/2022

Filed & Entered:

05/10/2022) Order on Motion to Amend/Correct

es

Filed & Entered:
Terminated:

05/10/2022 X28 Motion to Amend/Correct
05/31/2022

[iS

Filed & Entered:

05/10/2022 | Errata

Filed & Entered:

05/31/2022|@ Order on Motion to Amend/Correct _

Filed & Entered:

05/3.1/2022.|\\% Set/Reset Deadlines

Bt

Filed:
Entered:

05/3 1/2022/63 Amended Complaint
06/08/2022

RR.

F iled & Entered:

06/15/2022|@ Answer to Amended Complaint

Filed & Entered:

06/21/2022 |\\8 Order

F iled & Entered:

06/22/2022 Set/Reset Deadlines.

|Filed & Entered:

06/27/2022 | Transcript

Filed & Entered:

06/27/2022 |B Transcript

RIBIB

Filed:
Entered:

07/01/2022

06/28/2022} Answer to Amended Complaint

B

Filed & Entered:

07/08/2022 Notice (Other)

Filed & Entered:

07/11/2022 |<@ Notice of QC

Filed:
Entered:

07/11/2022 |S@ Set/Reset Hearings
08/05/2022

Filed & Entered:

07/11/2022 <9 Order

Filed & Entered:

07/11/2022 SB Notice (Other)

Filed & Entered:

08/11/2022|<8 Notice of Appearance

Filed ck Entered:

08/11/2022|89 Notice of Withdrawal of Appearance

Filed & Entered:

08/11/2022|@ Certificate of Service

Filed & Entered:
Terminated:

08/11/2022|@ Motion to Clarify
08/15/2022

Filed & Entered:

08/12/2022|\8 Meet and Confer Statement

Filed & Entered;

08/15/2022 9 Order

Filed & Entered:

09/23/2022 |B Notice (Other)

Filed & Entered:

11/14/2022 169 Notice (Other)

Filed & Entered:

Terminated:

11/16/2022|<9 Motion to Stay _
12/02/2022)

Case 1:21-cv-02170-ACR Document 93-7
Case 1:21-cv-02170-ACR Document 83-6

Filed 05/26/25
Filed 05/09/25

Page 4 of 5
Page 4 of 5

Filed & Entered:

12/02/2022|\3 Order on Motion to Stay

Filed:
E ntered:

12/02/2022 |B Set/Reset Deadlines

12/05/2022

Filed & Entered:

02/24/2023

<3 Case Assigned/Reassigned

| Filed & Entered:

12/14/2023

<9 Order

| Filed & Entered:

12/15/2023 |s9 Set/Reset Deadlines/Hearings

Filed & Entered:

01/04/2024

9 Order

Filed & Entered:

01/04/2024

@ Meet and Confer Statement

Filed & Entered:

01/12/20241<9 Meet and Confer Statement

Filed & Entered;

01/17/2024

@ Order

Filed & Entered;

04/04/2024 |< Notice of Hearing

Filed & Entered:

04/17/2024 18 Status Conference

Filed & Entered:

05/08/2024|83 Meet and Confer Statement

Filed & Entered:

05/09/2024 |9 Order

Filed & Entered:

05/09/2024|%8 Scheduling Order

Filed & Entered:

06/01/2024 |\\# Rule 26a! Statement

LR EE YS IS

Filed & Entered:

06/03/2024 <9 Rule 26al Statement

Filed & Entered:

08/08/2024 /@ Order

Filed & Entered:

08/24/2024

 Interrogatories Propounded

BIS

Filed & Entered:

08/24/2024|\9 Request for Production of Documents

Filed & Entered:

08/26/2024

< Notice of Error

Filed & Entered:

08/26/2024 |< Interrogatories Propounded

Filed & Entered:

08/26/2024 |<@ Interrogatories Propounded.

Filed & Entered:

08/26/2024

3 Request for Production of Documents.

SRS HS

Filed & Entered:

08/26/2024 |@ Status Report

\Filed & Entered.

08/28/2024 | Order

Filed & Entered:

09/30/2024 |@ Rule 26b4 Statement .

Filed & Entered:

10/04/2024 |\8 Certificate of Service _

Filed & Entered;

10/17/2024) Interrogatories Propounded Ys

Filed & Entered:

10/17/2024|\B Request for Production of Documents

RIB eee

Filed & Entered:

10/18/2024) Status Report

Filed & Entered:

11/07/2024|\@ Status Report Order

Filed & Entered:

11/09/2024 |@ Set/Reset Deadlines/Hearings

Filed & Entered:

11/25/2024 @ Set/Reset Deadlines/Hearings

Filed & Entered:

11/26/2024|9 Answer to Interrogatories

Filed & Entered:

11/26/2024 |B Response to Discovery

Filed & Entered:

12/17/2024 19 Order

\Filed & Entered:

12/17/2024 |\B Set/Reset Deadlines/Hearings

Filed & Entered:

12/17/2024 6% Status Report

Filed & Entered:

01/16/2023

48 Order to Show Cause

61 \Filed & Entered:

01/16/2025 18 Motion to Compel

Case 1:21-cv-02170-ACR Document 93-7 Filed 05/26/25 Page 5of5
Case 1:21-cv-02170-ACR Document 83-6 Filed 05/09/25 Page5of5

Terminated:

02/05/2025;

Filed & Entered:

01/23/2025 | Notice (Other)

Bie

Filed & Entered:

01/23/2025 |s@ Response to Order to Show Cause

Filed & Entered:

01/24/2025 8 Order

Filed:

Entered:

03/25/2025

01/24/2025 Set/Reset Deadlines/Hearings

64 |Filed & Entered:

Terminated:

01/24/2025 |\\@ Motion for Miscellaneous Relief
01/28/2025

IR

Terminated:

Filed & Entered:

01/24/2025 o Motion for Extension of Time to Complete Discovery
01/28/2025)

Filed & Entered:

01/27/2025 |\@ Order

Filed & Entered:

01/27/2025 |\@ Response to Order of the Court

Filed & Entered:

01/28/2025 |< Order on Motion for Miscellaneous Relief

Filed & Entered:

01/28/2025 |% Order on Motion for Extension of Time to Complete Discovery

Terminated:

Filed & Entered:

01/29/2025183 Motion for Protective Order
02/20/2025

Filed & Entered:

01/31/2025}@ Rule 26b4 Statement

Filed & Entered:

02/05/2025 |68 Withdrawal of Motion

Filed & Entered:

02/11/2025 |s# Notice (Other)

Filed & Entered:

02/20/2025 | Order on Motion for Protective Order

Filed & Entered:

02/24/2025 |B Order

Filed & Entered:

03/03/2025 “8 Notice (Other)

Filed & Entered:

03/14/2025 |< Natice (Other)

Filed & Entered:

03/14/2025 1 Notice (Other)

Filed & Entered;

03/17/2025 | Notice of Provisional/Government Not Certified Status

Filed & Entered:

03/17/2025 | Notice of Provisional/Government Not Certified Status _

Filed & Entered:

03/17/2025 18 Status Report

Filed & Entered:

03/24/2025|@ Notice (Other)

Filed & Entered:

03/24/2025] Notice (Other)

Filed & Entered:

04/02/2025 |X8 Order

Filed & Entered:

04/03/2025 | Notice of Hearing

Filed & Entered:

04/04/2025 |< Order

fi F ied & Entered:

04/04/2025 |\8 Order

we
enone

=

“PACER Service Center

Transaction Receipt

"04/05/2025 12:01:43

rae richardlink Client Code:

Login:

Pas . |Search 1:21 -cv-02170+
Description: Pier y Romeo Criteria:

[Billable Pages:|[3 Cost:

